   Case 3:23-cv-00194-L Document 52 Filed 11/17/23                Page 1 of 3 PageID 928



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 ENERRA CORPORATION                              §
                                                 §
        Plaintiff,                               §
                                                 §
 vs.                                             §   CAUSE NO. 3:23-cv-00194-L
                                                 §
 CONTI GROUP, LLC, PLASTIKGAS,                   §
 LLC, ROBERTO CONTI, JULIE CONTI,                §
 and ROBERT JORDAN CONTI                         §
                                                 §
        Defendants.                              §


               THIRD-PARTY DEFENDANTS’ UNOPPOSED MOTION TO
               WITHDRAW PREVIOUSLY-FILED MOTION TO DISMISS


       Third-Party Defendants Sergio Perez, Mark Mills, and Michael Brown (the “Third-Party

Defendants”) file this Unopposed Motion to Withdraw Previously-Filed Motion to Dismiss and

move to withdraw their previously-filed Motion to Dismiss for Lack of Personal Jurisdiction

Pursuant to FRCP 12(b)(2), filed on March 24, 2023 (Dkt. 28). In support of this motion, Third-

Party Defendants state the following:

       1.      On March 24, 2023. Third-Party Defendants filed a Motion to Dismiss for Lack of

Personal Jurisdiction Pursuant to Federal Rule of Civil Procedure 12(b)(2) (Docket Entry No. 28)

based on lack of personal jurisdiction on the claims asserted against them by Counter-Plaintiff

Conti Group, LLC.

       2.      In order to expedite this matter, streamline the discovery process, and to avoid the

incurrence of additional and potentially duplicative legal fees, Third-Party Defendants have




THIRD-PARTY DEFENDANTS’ UNOPPOSED MOTION TO
WITHDRAW PREVIOUSLY-FILED MOTION TO DISMISS
Page 1 of 3
   Case 3:23-cv-00194-L Document 52 Filed 11/17/23                  Page 2 of 3 PageID 929



determined that it is in their best interest to withdraw their objection to personal jurisdiction, and

to no longer pursue the previously filed Motion to Dismiss (Dkt. 28).

        3.      Third-Party Defendants do not request any stay or delay of proceedings, and this

withdrawal will not impact any presently-scheduled events or court-ordered deadlines in the

court’s Scheduling Order (Dkt. 33). This motion is in good faith, is not for purposes of delay, and

will not result in unfair prejudice.

        4.      Upon the granting of this Motion to Withdraw, Third-Party Defendants request that

they have a period of fourteen (14) days from the entry of an Order granting this Motion in which

to file an Answer in this matter.

        5.      After conferring with counsel, Counter-Plaintiff Conti Group, LLC has no

objection to the Motion to Withdraw and has no objection to Third-Party Defendants’ request for

fourteen (14) days to answer the complaint.

        WHEREFORE, PREMISES CONSIDERED, Third-Party Defendants Michael Brown,

Mark Mills, and Sergio Perez respectfully request that this Court enter an Order allowing Third-

Party Defendants to withdraw the previously filed Motion to Dismiss (Dkt. 28) and to permit

Third-Party Defendants a period of fourteen days from the entry of such Order in which to file an

Answer in this matter.




THIRD-PARTY DEFENDANTS’ UNOPPOSED MOTION TO
WITHDRAW PREVIOUSLY-FILED MOTION TO DISMISS
Page 2 of 3
   Case 3:23-cv-00194-L Document 52 Filed 11/17/23            Page 3 of 3 PageID 930



                                          Respectfully submitted,



                                          COBB MARTINEZ WOODWARD PLLC

                                          By /s/ Jeff Nicodemus
                                            JEFFREY I. NICODEMUS
                                            State Bar No. 24007748
                                            jnicodemus@cobbmartinez.com
                                            R. PRICE ANDERSON
                                            State Bar No. 24116029
                                            panderson@cobbmartinez.com

                                          1700 Pacific Avenue, Suite 3100
                                          Dallas, Texas 75201
                                          (214) 220-5200 (Telephone)
                                          (214) 220-5299 (Fax)
                                          ATTORNEYS FOR THIRD-PARTY
                                          DEFENDANTS SERGIO PEREZ,
                                          MICHAEL BROWN, AND MARK MILLS



                              CERTIFICATE OF SERVICE

        The undersigned certifies that on November 17, 2023, a true and correct copy of the
foregoing document was served upon all counsel of record in accordance with the Federal Rules
of Civil Procedure.

                                              /s/ Jeff Nicodemus
                                              JEFFREY I. NICODEMUS



                           CERTIFICATE OF CONFERENCE

        Prior to filing this motion, undersigned counsel for Third-Party Defendants contacted
counsel for Counter-Plaintiff Conti Group, LLC regarding the issues raised herein. Counter-
Plaintiff does not oppose this motion or object to any of the relief requested herein.

                                              /s/ Jeff Nicodemus
                                              JEFFREY I. NICODEMUS




THIRD-PARTY DEFENDANTS’ UNOPPOSED MOTION TO
WITHDRAW PREVIOUSLY-FILED MOTION TO DISMISS
Page 3 of 3
